Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.233 Filed 08/05/20 Page 1 of 13




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

  CHERYL HALL, and BRAD
  LAFUZE, on behalf of themselves and
  all others similarly situated,

       Plaintiffs,                        Case No. 20-cv-10670
                                          Hon. George C. Steeh
  v.                                      Mag. Judge Patricia T. Morris

  WELLPATH, LLC,

       Defendant.

  LIDDLE & DUBIN, P.C.                    CHAPMAN LAW GROUP
  Steven D. Liddle (P45110)               Ronald W. Chapman Sr., M.P.A.,
  Matthew Z. Robb (P81665)                LL.M. (P37603)
  Attorneys for Plaintiffs                Wedad Suleiman (P81970)
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  Detroit, MI 48207                       1441 W. Long Lake Rd., Suite 310
  (313) 392-0025                          Troy, MI 48098
  sliddle@ldclassaction.com               (248) 644-6326
  mrobb@ldclassaction.com                 rchapman@chapmanlawgroup.com
                                          wsuleiman@chapmanlawgroup.com


       DEFENDANT WELLPATH, L.L.C.’S REPLY TO PLAINTIFFS’
          RESPONSE TO DEFENDANT’S MOTION TO DISMISS


 EXHIBIT D           Wellpath Policy and Procedure HCD-100_E-05 – Mental
                     Health Screening and Evaluation for Grand Traverse County
                     Jail and Wayne County Jail
 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.234 Filed 08/05/20 Page 2 of 13

                                                                     Wellpath
                                 Grand Traverse County Michigan Detention Center
                                                         Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                 REFERENCE: 65453
Evaluation --Grand Traverse MI
                                                                                PAGE:          1 OF 6
                                                                                VERSION:1
APPROVER: Worley, Nanette                                                       SUPERSEDES: Not Set
                                                                                EFFECTIVE: 06/23/2019
                                                                                REVIEWED: 06/23/2019



  1. PURPOSE

  This policy is intended to ensure a mental health screening is performed to ensure that urgent
  mental health needs are met.

  2. APPLICABILITY

  This policy applies to health care staff and other persons providing services at the request of
  Wellpath.

  3. POLICY

  Patients receive a mental health screening during the initial health assessment. This screening
  is a follow-up to the mental health screening that is included as part of the intake/receiving
  screening process. The mental health screening is carried out by qualified health care or mental
  health care professionals. When findings are positive, the patient is referred to a Qualified Mental
  Health Professional (QMHP) for a mental health initial evaluation, unless the screening was
  carried out by a mental health professional. A QMHP will provide training as needed when the
  mental health portion of the receiving screening or initial health assessment is completed by a
  health care professional, providing instruction in identifying and interacting with patients in need
  of mental health services.

      3.1. The initial mental health screening includes a structured interview with inquiries into, at
           a minimum:

             3.1.1.    A history of:

                        •    Psychiatric hospitalization and outpatient treatment

                        •    Substance use hospitalization

                        •    Withdrawal seizures

                        •    Detoxification and outpatient treatment

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 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.235 Filed 08/05/20 Page 3 of 13

                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 65453
Evaluation --Grand Traverse MI
                                                                                 PAGE:          2 OF 6
                                                                                 VERSION:1


                         •   Suicidal behavior

                         •   Violent behavior

                         •   Victimization

                         •   Special education placement

                         •   Cerebral trauma

                         •   Sexual abuse

                         •   Sex offenses

              3.1.2.    The status of:

                         •   Psychotropic medication

                         •   Suicidal ideation

                         •   Drug or alcohol use

                         •   Drug or alcohol withdrawal or intoxication

                         •   Orientation to person, place, and time

              3.1.3.    Emotional response to incarceration

              3.1.4.    Screening for intellectual functioning (e.g., mental retardation, developmental
                        disability, learning disability)

  The results of the evaluation, with documentation of referral or initiation of treatment, when
  indicated, are retained in the health record.

  If the mental health needs of the patient exceed the capabilities of the facility, steps are taken to
  transfer the patient to a location where the patient’s needs can be met. Such transfers must
  typically follow due-process procedures as they relate to sending patients to outside agencies
  such as local hospitals. Generally, outside community mental health providers address the due-
  process requirements.

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 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.236 Filed 08/05/20 Page 4 of 13

                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 65453
Evaluation --Grand Traverse MI
                                                                                 PAGE:          3 OF 6
                                                                                 VERSION:1


  Special procedures, including the use of a translation service, ensure that patients who have
  difficulty communicating understand how to access health care services. Any special procedure
  used shall be documented in the health record to demonstrate effective communication.

  4. INTERPRETATION / RESPONSIBILITY

  This policy is to be interpreted by the Wellpath Chief Clinical Officer or designee, and it is the
  responsibility of the Responsible Health Authority or designee to ensure implementation and
  adherence.

  5. DEFINITIONS

  Mental Health Screening – The portion of the receiving screening form focused on mental health
  history and findings completed as soon as possible upon arrival by a Qualified Health Professional
  (QHP) or trained non-licensed staff so that the timeliness of referral mitigates negative mental
  health consequences.

  Mental Health Assessment – Refers to the mental health history portion of the 14-day or sooner
  health assessment based on a referral from staff or patient self-referral to Mental Health Services.

  Mental Health Evaluation – A comprehensive mental health evaluation completed by a QMHP in
  response to positive findings on mental health assessment, referral from QHP or custody staff, or
  patient request for Mental Health Services. The mental health evaluation shall be completed
  within 30 days of the positive screen.

  Psychiatric Evaluation – A comprehensive mental health evaluation completed by a Psychiatrist
  or Psychiatric Nurse Practitioner in response to positive findings on mental health
  screening/assessment, referral from a QHP or custody staff, or patient request for Mental Health
  Services.

  Suicide Risk Assessment – A comprehensive suicide risk questionnaire completed by a QHP
  and/or QMHP to assess suicide potential including, but not limited to: current mental status, affect,
  cognition, judgment/insight, speech, mood, hallucinations, memory, plan, history, etc.

  Qualified Mental Health Professional (QMHP) – Includes licensed psychiatrists, licensed
  psychologists, licensed psychiatric social workers, licensed professional counselors, licensed
  psychiatric nurses, and others who by virtue of their education, credentials, and experience are
  permitted by law to evaluate and care for the mental health needs of patients. QMHPs have


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 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.237 Filed 08/05/20 Page 5 of 13

                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 65453
Evaluation --Grand Traverse MI
                                                                                 PAGE:          4 OF 6
                                                                                 VERSION:1


  consultation resources available from Regional Directors of Mental Health and the regional
  psychiatry providers.

  Qualified Health Care Professional (QHP) – Includes physicians, physician assistants, nurses,
  nurse practitioners, dentists, dental hygienists, dental assistants, MAs, CNAs, mental health
  professionals, and others who by virtue of education, credentials, and experience are permitted
  by law to evaluate and care for patients.

  On-Call Provider – The responsible provider for a facility when an on-site provider is not physically
  present or available on-site.

  6. PROCEDURE

      6.1. As part of the initial health screening process, a qualified health care professional or
           mental health professional conducts a mental health screening within 14 days of
           admission to the facility for both jails and prisons.

      6.2. Results of the screening assessment are documented in the patient’s health record.

      6.3. Responses of a positive or concerning nature will result in a referral to mental health
           staff for additional assessment. If mental health staff conducted the mental health
           section of the initial health assessment, the staff member will either schedule a follow-
           up or conduct a more in-depth assessment as part of the initial health assessment.

              6.3.1.    If the patient has already seen a mental health professional to complete the
                        Psychiatric Evaluation Form, that process does not need to be repeated.
                        However, if a new issue was elicited during the initial health assessment, the
                        patient is seen for additional assessment of the new issue.

      6.4. Any referrals by a QHP will be triaged and assigned for follow-up. As a priority,
           emergent and urgent referrals will be addressed first, while routine referrals will be seen
           within seven (7) days for sites with 40 hours-a-week mental health coverage, within 10
           days at sites with less than 40 hours-a-week coverage, and within 14 days at sites with
           less than 10 hours-a-week coverage.

              6.4.1.    If an emergent referral to a QMHP occurs after hours, the on-call provider shall
                        be contacted. The on-call provider will determine whether the patient needs to
                        be transferred to another facility, as clinically indicated.


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 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.238 Filed 08/05/20 Page 6 of 13

                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 65453
Evaluation --Grand Traverse MI
                                                                                 PAGE:          5 OF 6
                                                                                 VERSION:1


      6.5. Patients assessed to have serious mental health needs who have not already been
           identified as such will be reviewed by mental health staff, and the level of mental health
           services considered necessary to assist the patient in maintaining adequate functioning
           in the facility will be determined.

              6.5.1.    Patients who require acute mental health services beyond those available in
                        the facility are transferred to an appropriate facility.

              6.5.2.    The Mental Health Coordinator/Director, in consultation with the Psychiatric
                        Provider, will determine those patients in need of transfer to an appropriate
                        mental health facility and will communicate with appropriate custody staff about
                        transfer arrangements.

  7. REFERENCES

  NCCHC Standards for Health Services in Jails 2018
    • Section: Patient Care and Treatment: J-E-05 Mental Health Screening and Evaluation (E)
  NCCHC Standards for Health Services in Prisons 2018
    • Section: Patient Care and Treatment: P-E-05 Mental Health Screening and Evaluation (E)
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       (E)
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    • 4-ALDF-4C-31 Mental Health Referrals
    • 4-ALDF-4C-34 Mental Illness and Developmental Disability
    • 4-ALDF-4D-20 Transfer of Mentally Ill or Developmentally Disabled
    • 1-HC-1A-25 Mental Health Program (M)
    • 1-HC-1A-27 Mental Health Screen (M)
    • 1-HC-1A-28 Mental Health Appraisal (M)
    • 1-HC-1A-29 Mental Health Evaluations (M)
    • 1-HC-1A-31 Mental Illness and Developmental Disability
    • 1-HC-3A-11 Transfer of Mentally Ill or Developmentally Disabled

  Forms
     • Psychiatric Evaluation Form


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 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.239 Filed 08/05/20 Page 7 of 13

                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 65453
Evaluation --Grand Traverse MI
                                                                                 PAGE:          6 OF 6
                                                                                 VERSION:1


      •    Initial Health History and Physical Assessment Form




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 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.240 Filed 08/05/20 Page 8 of 13

                                                                     Wellpath
                                                    Wayne County Jail Michigan
                                                         Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                 REFERENCE: 52659
Evaluation --Wayne MI
                                                                                PAGE:          1 OF 6
                                                                                VERSION:1
APPROVER: Townsel, Audrey                                                       SUPERSEDES: Not Set
                                                                                EFFECTIVE: 06/28/2019
                                                                                REVIEWED: 06/28/2019



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 Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.241 Filed 08/05/20 Page 9 of 13

                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 52659
Evaluation --Wayne MI
                                                                                 PAGE:          2 OF 6
                                                                                 VERSION:1


                         •   Suicidal behavior

                         •   Violent behavior

                         •   Victimization

                         •   Special education placement

                         •   Cerebral trauma

                         •   Sexual abuse

                         •   Sex offenses

              3.1.2.    The status of:

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                         •   Suicidal ideation

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Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.242 Filed 08/05/20 Page 10 of 13

                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 52659
Evaluation --Wayne MI
                                                                                 PAGE:          3 OF 6
                                                                                 VERSION:1


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Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.243 Filed 08/05/20 Page 11 of 13

                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 52659
Evaluation --Wayne MI
                                                                                 PAGE:          4 OF 6
                                                                                 VERSION:1


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Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.244 Filed 08/05/20 Page 12 of 13

                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 52659
Evaluation --Wayne MI
                                                                                 PAGE:          5 OF 6
                                                                                 VERSION:1


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           services considered necessary to assist the patient in maintaining adequate functioning
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                        the facility are transferred to an appropriate facility.

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    • Section: Patient Care and Treatment: MH-E-04 Mental Health Assessment and Evaluation
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    • 4-ALDF-4C-30 Mental Health Appraisal (M)
    • 4-ALDF-4C-31 Mental Health Referrals
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    • 1-HC-1A-31 Mental Illness and Developmental Disability
    • 1-HC-3A-11 Transfer of Mentally Ill or Developmentally Disabled

  Forms
     • Psychiatric Evaluation Form


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Case 2:20-cv-10670-GCS-PTM ECF No. 16-5, PageID.245 Filed 08/05/20 Page 13 of 13

                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-05 Mental Health Screening and                                  REFERENCE: 52659
Evaluation --Wayne MI
                                                                                 PAGE:          6 OF 6
                                                                                 VERSION:1


      •    Initial Health History and Physical Assessment Form




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